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14
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15
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16
     UNITED STATES OF AMERICA,                 SA CR No. 19-061-JVS
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                Plaintiff,                     GOVERNMENT’S RESPONSE TO
18                                             DEFENDANT’S MOTION FOR
                      v.                       RECONSIDERATION OF THE COURT’S
19                                             ORDER DEEMING DEFENDANT’S FIVE
     MICHAEL JOHN AVENATTI,                    SUBPOENAS SERVED ON GOVERNMENT
20                                             AGENTS INEFFECTIVE DUE TO FAILURE
                Defendant.                     TO COMPLY WITH TOUHY REGULATIONS
21                                             (CR 614)

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24         Plaintiff United States of America, by and through its counsel

25   of record, the Acting United States Attorney for the Central District

26   of California and Assistant United States Attorneys Brett A. Sagel

27   and Alexander C.K. Wyman, hereby files its Response to Defendant’s

28   Motion for Reconsideration of the Court’s Order Deeming Defendant’s
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1    Five Subpoenas Served on Government Agents Ineffective Due to Failure

2    to Comply with Touhy Regulations (CR 614).

3          This Response is based upon the attached memorandum of points

4    and authorities, the files and records in this case, and such further

5    evidence and argument as the Court may permit.

6     Dated: August 2, 2021                Respectfully submitted,

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11                                               /s/
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1                        MEMORANDUM OF POINTS AND AUTHORITIES

2          Defendant MICHAEL JOHN AVENATTI asks this Court to reconsider

3    its prior ruling that defendant failed to properly subpoena five

4    special agents.     (CR 614.)    Three of these agents are involved in

5    this case; two are not.       None of the agents are on the government’s

6    witness list, and although each of them participated in various

7    witness interviews, it is not clear what relevant testimony defendant

8    could seek to elicit from any of these agents, and he has provided no

9    explanation for why he has attempted to serve them with subpoenas. 1

10         This Court held that defendant had failed to comply with the

11   Touhy regulations for subpoenaing Department of Justice employees,

12   see 28 C.F.R. § 16.21 et seq., and there is no reason to revisit that

13   determination.     The Touhy “housekeeping” regulations (named after the

14   Supreme Court’s decision in Touhy v. Ragen, 340 U.S. 462 (1951),

15   approving similar procedures) govern who within the Department of

16   Justice has the authority to “make the threshold determination

17   whether to resist disclosure of official information in the hands of

18   the Department.”     In re Boeh, 25 F.3d 761, 767 (9th Cir. 1994).           The
19   regulations allow “centralized decisionmaking” when an agency

20   divulges or resists divulging information.          Id.   The point is not to

21   “allow an agency to refuse to disclose information,” but to “allow an

22   agency to choose who may disclose the information and the procedure

23   to be followed for such disclosure.”         United States v. Henson, 123

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           1In his motion for reconsideration, defendant has attached five
26   subpoenas signed by the Clerk of Court. (Mot. Ex. A.) Yet none of
     the subpoenas received by the agents actually bore a signature; they
27   were all unsigned. As discussed in this Response, the government is
     not seeking a ruling that defendant be precluded from calling these
28   agents as witnesses for failure to serve them properly, but it is
     unclear that they were, in fact, served with valid subpoenas.
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1    F.3d 1226, 1237 (9th Cir. 1997), overruled on other grounds by United

2    States v. Foster, 165 F.3d 689 (9th Cir. 1999).

3          At the very least, to allow the government attorneys to comply

4    with their obligations under the DOJ’s Touhy regulations, a defendant

5    seeking to present testimony from government agents should offer some

6    explanation (if it is not otherwise obvious) as to what the subject

7    matter of the testimony is going to be and why it might be relevant

8    to the case.     That aspect of the Touhy doctrine merely supplements

9    the power the Court already has to require the same thing: a

10   proponent of evidence always bears the burden of establishing the

11   admissibility of that evidence, including its relevance.             See Dowling

12   v. United States, 493 U.S. 342, 351 n.3 (1990); see also United

13   States v. Alvarez, 358 F.3d 1194, 1205 (9th Cir. 2004) (district

14   court has “wide discretion” to exclude irrelevant evidence).             And

15   although a criminal defendant is guaranteed “a meaningful opportunity

16   to present a complete defense,” “well-established rules of evidence”

17   such as Rules 401 and 403 of the Federal Rules of Evidence allow

18   trial judges to exclude irrelevant evidence or “to exclude evidence
19   if its probative value is outweighed by certain other factors such as

20   unfair prejudice, confusion of the issues, or potential to mislead

21   the jury.”    Holmes v. South Carolina, 547 U.S. 319, 324 (2006).            Such

22   relevance rules are “familiar and unquestionably constitutional.”

23   Id. at 327 (quoting Montana v. Egelhoff, 518 U.S. 37, 42 (1996)

24   (plurality opinion)).

25         The case defendant relies on, United States v. Bahamonde, 445

26   F.3d 1225 (9th Cir. 2006), is not to the contrary.           Bahamonde

27   involved a defense demand for testimony from a case agent who

28   “attended the entire trial, sat next to the prosecutor at the

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1    prosecutor’s table, assisted him throughout, and was listed on the

2    government’s witness list.”       Id. at 1228.     And the “sole ground” for

3    preventing the defense from calling that agent was the lack of a

4    timely written demand for the testimony setting forth “the nature and

5    relevance of the official information sought.”           Id. (noting that

6    defense counsel offered to make such a demand but the district court

7    ruled the offer “untimely”).        Even then, the Ninth Circuit’s decision

8    turned on the “unfairness inhere[nt]” in requiring the defense “to

9    state with specificity the testimony [it] expected from” the agent

10   without requiring the government to reciprocate by revealing “what

11   evidence it expected to offer in rebuttal,” and the abuse of

12   discretion on the part of the district court by categorically barring

13   the defense from calling the agent without any consideration of the

14   “countervailing interests,” in particular the importance of the

15   witness.    Id. at 1229, 1231.

16         None of that is at issue here.         The government is not asking

17   this Court to categorically exclude any witness, much less a “very

18   important” witness.      Id. at 1229.    To the contrary, defendant has
19   offered no explanation of what relevance these witnesses have at all.

20   For example, no witness has denied making a statement to agents that

21   would require calling the agent to impeach the witness’s testimony.

22   And to the extent defendant is concerned about a lack of “reciprocal”

23   information from the government, id., government counsel are willing

24   to provide reciprocal information related to any relevant testimony

25   that any of these witnesses might offer.          The problem at this point

26   is that defendant has not yet offered any indication of what relevant

27   testimony these witnesses might give.

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1          Moreover, defendant claims that “[e]ach of the agents actively

2    participated in the investigation of this case, gathered evidence in

3    connection with this case, and/or had considerable interactions with

4    witnesses in this case concerning the subject matter(s) of their

5    testimony.”     (CR 614.)   This is simply false as it relates to the two

6    special agents from the Southern District of New York.            Other than

7    defendant’s conclusory -- and incorrect -- statements, defendant has

8    no good faith basis for these two witnesses to testify.

9          Before the Court permits defendant to call any of these

10   witnesses to testify, including requiring two special agents to fly

11   across the country to do so, the Court should require defendant to

12   proffer what relevant testimony under Rule 403 defendant would be

13   seeking and the good faith basis he has for doing so.

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